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                        UNITED STATES DISTRICT COURT

                      FOR THE DISTRICT OF NEW MEXICO

                              NOTICE OF SETTING
                             STATUS CONFERENCES

   TAKE NOTICE that the cases listed below are hereby set for THURSDAY,
DECEMBER 1, 2022 before the Honorable Paul J. Kelly, Jr., U.S. Circuit Judge, sitting
by designation, at the Pete V. Domenici United States Courthouse, 333 Lomas Blvd. NW,
Albuquerque, New Mexico (Bonito Courtroom–Fifth Floor). These proceedings are
independent of and in addition to any proceedings otherwise scheduled.

10:00 AM Status Conferences

1:14-cv-00884-PJK-LF        EEOC v. Roark-Whitten Hospitality 2, LP & SGI, LLC

1:20-cv-00147-PJK-KK        Grano v. State of New Mexico

   Please direct all inquiries regarding these settings to Judge Kelly’s chambers at (505)
988-6541.
                                                 /s/MITCHELL R. ELFERS
                                                 Clerk of Court
